Case 2:05-cr-20076-.]DB Document 56 Filed 08/01/05 Page 1 ot 2 PagelD 57

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UN|TED STATES OF A|V|ER|CA

 

P|aintiff

VS.
CF{. NO. 05-20076-B

DEBRA FRANKL|N, TONY W|LL|AN|S,

Detendants.

 

OFlDEF{ ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the oase.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Nlonday, September 26l 2005, at 9:30 a.m., in Courtroom 1, 11th Floor
ot the Federa| Bui|ding, Nlemphis, TN.

 

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ot justice served in allowing tor additional

time to prepare outweigh the need tor a spe dy tr` l.

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day o , 2005.

 

J. o NlEi_ BREEN \
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This notice confirms a copy of the document docketed as number 56 in
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August 2, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

